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                                  general description of the basis and reasons therefor. A failure
                                  to summarize the potential expert testimony in a good faith,
                                  informative fashion may result in the exclusion of the
                                  proffered testimony. With respect to items of extrinsic
                                  evidence, the parties shall identify each such item by
                                  production number or produce a copy of any such item if not
                                  previously produced.
September 16, 2021 (13            Deadline to meet and confer to narrow terms in dispute and
weeks after Rule 16)              exchange revised list of terms/constructions.


December 16, 2021 (14             Parties file Opening claim construction briefs, including any
weeks after Rule 16 [Due to       arguments that any claim terms are indefinite. The impact of
one of Plaintiffs’ counsel        all proposed claim constructions also must be included in the
going on paternity leave, the     opening claim construction briefs.
parties agree to move this date
and the subsequent dates out
approximately 90 days])
January 6, 2022 (17 weeks         Parties file Responsive claim construction briefs.
after Rule 16 + 90)
January 20, 2022 (19 weeks        Parties file Reply claim construction briefs.
after Rule 16 + 90)


January 27, 2022 (20 weeks        Parties submit Joint Claim Construction Statement. In
after Rule 16 + 90)               addition to filing, the parties shall jointly submit, via USB
                                  drive, Dropbox (not another cloud storage), or email to the
                                  law clerk, pdf versions of all as-filed briefing and exhibits.
                                  Absent agreement of the parties, the Plaintiff shall be
                                  responsible for the timely submission of this and other Joint
                                  filings.
24 weeks after Rule 16 + 90       Markman Hearing at [9:00 a.m. or 1:00 p.m.]
days (March 2, 2022, or as
soon as practicable).
1 week after Markman              Fact Discovery opens; deadline to serve Initial Disclosures
hearing                           per Rule 26(a).
6 weeks after Markman             Deadline to add parties.
hearing
8 weeks after Markman             Deadline to serve Final Infringement and Invalidity
hearing                           Contentions. After this date, leave of Court is required for any
                                  amendment to Infringement or Invalidity contentions. This
                                  deadline does not relieve the Parties of their obligation to
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                               seasonably amend if new information is identified after initial
                               contentions.
12 weeks after Markman         Deadline to amend pleadings. A motion is not required unless
hearing                        the amendment adds patents or patent claims.
30 weeks after Markman         Close of Fact Discovery.
hearing
31 weeks after Markman         Opening Expert Reports.
hearing
35 weeks after Markman         Rebuttal Expert Reports.
hearing
38 weeks after Markman         Close of Expert Discovery.
hearing
39 weeks after Markman         Deadline to meet and confer to discuss narrowing the number
hearing                        of claims asserted and prior art references at issue. The parties
                               shall file a Joint Report within 5 business days regarding the
                               results of the meet and confer.
40 weeks after Markman         Dispositive motion deadline and Daubert motion deadline.
hearing
42 weeks after Markman         Serve Pretrial Disclosures (jury instructions, exhibits lists,
hearing                        witness lists, discovery and deposition designations).
44 weeks after Markman         Serve objections to pretrial disclosures/rebuttal disclosures.
hearing
45 weeks after Markman         Serve objections to rebuttal disclosures and File Motions in
hearing                        limine.
46 weeks after Markman         File Joint Pretrial Order and Pretrial Submissions (jury
hearing                        instructions, exhibits lists, witness lists, discovery and
                               deposition designations); file oppositions to motions in
                               limine.
47 weeks after Markman         Deadline to meet and confer regarding remaining objections
hearing                        and disputes on motions in limine.
3 business days before Final   File joint notice identifying remaining objections to pretrial
Pretrial Conference            disclosures and disputes on motions in limine.
49 weeks after Markman         Final Pretrial Conference. The Court expects to set this date at
hearing (or as soon as         the conclusion of the Markman Hearing.
practicable)
52 weeks after Markman         Jury Selection/Trial. The Court expects to set these dates at
hearing (or as soon as         the conclusion of the Markman Hearing.
practicable)
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                                    APPROVED BY THE COURT:
Date: 7/9/2021

                                           /s/ Chad F. Kenney
                                    By:
                                          Hon. Chad Kenney
                                          UNITED STATES DISTRICT JUDGE
